Case 2:12-cr-00037-.]LQ Document 27 Filed 03/26/12

 

UNITED STATES DISTRICT COURT

Eastern Dl'strict of Wash ington

uNlTED sTATEs 01= AMERICA,
Plaintiff,
JUDGMENT
V.
RENATO sARABlA-LoPEz CASE NUMBER¢ CR'12'37'JLQ
Defendant

|:l Jury Verdict. This action came before thc Court for a trial by jury. The issues have been tried and thejury
has rendered its verdict.

El Decision by Court. This action came to hearing before the Court. The issues have been
heard and a decision has been rendered.

l'l` IS ORDERED AND ADJUDGED that the Indictment and claims therein are dismissed with
prejudice.

March 26, 2012 JAMES `R. I;ARSEN
Date C/erk 7
s/ Virginia Reisenauer
(By) Deputy Clerk

Virginia Reisenauer

 

 

